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PROPOSED ATTORNEYS FOR DEBTORS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                   §        CHAPTER 11
                                                         §
                                                         §
NATIONAL RIFLE ASSOCIATION OF                            §        CASE NO. 21-30085-hdh11
AMERICA and SEA GIRT LLC                                 §
                                                         §
            DEBTORS1                                     §        JOINTLY ADMINISTERED


      DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER PURSUANT
  TO SECTIONS 105(A), 327(E), 328(A), 329 AND 1107(B) OF THE BANKRUPTCY
 CODE AUTHORIZING AND APPROVING THE EMPLOYMENT AND RETENTION
    EFFECTIVE AS OF THE PETITION DATE OF BREWER, ATTORNEYS &
         COUNSELORS AS SPECIAL COUNSEL FOR THE DEBTORS
                      AND DEBTORS IN POSSESSION

      A HEARING WILL BE CONDUCTED ON THIS MATTER ON FEBRUARY 24,
2021 AT 2:00 PM IN COURTROOM #3, EARL CABELL FEDERAL BUILDING, 1100
COMMERCE STREET, 14TH FLOOR, DALLAS, TEXAS. IF YOU OBJECT TO THE
RELIEF REQUESTED, YOU MUST RESPOND IN WRITING, SPECIFICALLY
ANSWERING EACH PARAGRAPH OF THIS APPLICATION. UNLESS OTHERWISE
DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE WITH THE
CLERK OF THE BANKRUPTCY COURT WITHIN TWENTY-ONE DAYS FROM THE

        1
         The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).
The Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.



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DATE YOU WERE SERVED WITH THIS APPLICATION. YOU MUST SERVE A
COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE NOTICE;
OTHERWISE, THE COURT MAY TREAT THE APPLICATION AS UNOPPOSED
AND GRANT THE RELIEF REQUESTED.

          Sea Girt LLC (“Sea Girt”) and the National Rifle Association of America (the “NRA”),

as debtors and debtors in possession (together, the “Debtors”) in the above-captioned chapter 11

cases (the “Chapter 11 Cases”), file this application (the “Application”) for entry of an

order (the “Order”), substantially in the form attached hereto, (a) authorizing and approving

the employment and retention of Brewer, Attorneys & Counselors (“BAC”) as special counsel

for the Debtors, and (b) granting related relief.

          In support of this Application, the Debtors submit and incorporate herein by reference the

declarations of: (i) Michael J. Collins, a Partner at BAC (the “Collins Declaration”); (ii) Carolyn

Meadows, President and longtime Director of the NRA (the “Meadows Declaration”); (iii) John

C. Frazer, Secretary and General Counsel of the NRA (the “Frazer Declaration”). Together,

these declarations provide the verification required by the Appendix B Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under United States Code

by Attorneys in Larger Chapter 11 Cases (the “Guidelines”).             In further support of this

Application, the Debtors respectfully state as follows:

                                      I.     JURISDICTION

     1.          The United States Bankruptcy Court for the Northern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

     2.          This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

     3.          The Debtors confirm their consent, pursuant to Rule 7008 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by the Court.




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       4.        Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.        The bases for the relief requested herein are sections 105(a), 327(e), 328(a), 329

and    1107(b)    of   title 11   of   the    United   States   Code,   11   U.S.C.   §§   101-1532

(the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and Rules 2014-1 and 2016-1 of the Local Rules of Bankruptcy

Procedure of the United States Bankruptcy Court for the Northern District of Texas (the “Local

Bankruptcy Rules”).

                                       II.     BACKGROUND

       6.        On January 15, 2021 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.

       7.        The Debtors are operating their businesses and managing their properties as

debtors in possession pursuant to section 1107(a) and 1108 of the Bankruptcy Code.

       8.        On January 20, 2021, the Court entered an order [Docket No. 36] authorizing the

joint administration and procedural consolidation of the Chapter 11 Cases pursuant to

Bankruptcy Rule 1015(b).

       9.        Under Rule 2014-1 of the Local Bankruptcy Rules, “[i]f a motion for approval of

the employment of a professional is made within 30 days of the commencement of that

professional’s provision of services, it is deemed contemporaneous.” Here, the Debtors are

moving for approval of BAC’s retention and employment within 30 days of the commencement

of BAC’s provision of services to the Debtors.

                                       III.    BAC SERVICES

      10.        BAC has served as Pre-Petition litigation counsel to the NRA in connection with

an array of significant matters detailed in the Collins Declaration. These include key New York


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and federal government and regulatory matters, along with various private-party commercial

litigation that seeks to recover funds from former agents and vendors of the NRA. The Debtors

request authority to continue to retain BAC in connection with the Specific Matters,2 along with

any matters ancillary or related thereto which may arise during the course of these chapter 11

cases.

    11.              BAC and its attorneys are well-positioned to handle these matters for the Debtors

because BAC has accumulated a reservoir of knowledge that could not be efficiently offloaded

to, or replicated by, substitute counsel.3

    12.              In addition, on January 7, 2021, the NRA Board of Directors established a Special

Litigation Committee (the “SLC”) pursuant to New York Not-For-Profit Corporation Law

§ 712(a). The SLC is comprised of independent, disinterested directors and possesses corporate

authority to direct the prosecution and defense of several of the Specific Matters (as defined in

the Collins Declaration) for which Debtors seek to retain BAC. As set forth in the Meadows

Declaration, the SLC has firmly and unanimously recommended the retention of BAC as special

counsel to the Debtors.

    13.              BAC’s retention has been evaluated and approved by the SLC, whose members

had the opportunity to assess BAC’s performance over the course of several years4 and received

advice from independent outside counsel to the NRA Board of Directors.5 The Debtors submit

that BAC will supplement, not duplicate, the services to be provided by their proposed debtors’

counsel, Neligan, LLP.


          2
              Capitalized terms not defined herein are defined in the Collins Declaration.
          3
              Meadows Decl. ¶ 7.
          4
              Id.
          5
              Id.



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    14.         Because the Debtors propose to retain BAC for the specified special purposes

described herein, BAC may be properly employed pursuant to section 327(e) of the Bankruptcy

Code.

                              IV.    BAC’S QUALIFICATIONS

    15.         The Debtors selected BAC as special counsel because of BAC’s considerable

experience and institutional knowledge acquired over the course of its multiple representations of

the NRA pre-petition. As set forth in the Collins and Meadows Declarations, the NRA

first retained BAC in early 2018 after it received a warning from Eric Schneiderman, then the

Attorney General of the State of New York, that his office faced political pressure to take action

against the NRA in advance of the 2020 election. Thus, the NRA hired BAC precisely to fend

off the unconstitutional hostilities from the State of New York that have now materialized in the

action captioned: People of the State of New York v. The National Rifle Association et al., Index

No. 451625/2020 (Sup. Ct. N.Y.) (Collins Decl. Schedule 1, Ref. No. 14), which is one of the

most significant matters comprising the BAC Pre-Petition Litigation (as defined in the Collins

Declaration).

    16.         Over the course of BAC’s ensuing attorney-client relationship with the NRA,

BAC provided professional services and representation to the NRA in connection with all of the

Specific Matters enumerated in Schedule 1 to the Collins Declaration, including the DFS

Investigation, the NYAG Investigation, and federal legislative inquiries; BAC has also served,

and continues to serve, as lead litigation counsel to the NRA in the BAC Pre-Petition Litigation.

          1.    As a result of its pre-petition representation of the NRA, BAC has acquired in-

depth knowledge of the NRA’s finances, operations, corporate governance, and unique political

and public relations considerations. Accordingly, BAC possesses the necessary background to


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provide professional services that may be required by the NRA in connection with the Specific

Matters during these chapter 11 Cases. BAC is also well-situated to represent the NRA because

BAC’s retention has been examined and approved by the Special Litigation Committee of

independent directors that oversees the NRA’s prosecution and defense of key litigation matters.6

Over the course of 2018-2020, as BAC’s engagement expanded, the members of the Special

Litigation Committee received detailed briefings regarding the firm’s docket.7 The committee

conurs with the NRA’s General Counsel that the reservoir of knowledge accumulated by BAC

could not be efficiently offloaded to, or replicated by, substitute counsel.8 The Special Litigation

Committee is familiar BAC’s budget and staffing, and “firmly and unanimously” 9 recommends

BAC’s retention in the best interest of Debtors’ estates.

    17.                 In addition, BAC possesses expertise in insolvency-related litigation matters.

Michael Collins and other attorneys at BAC have (either while at BAC or other firms) served as

counsel and special counsel to debtors, official creditors’ committees, non-debtor affiliates in

bankruptcy          cases     including,   without   limitation:   Caesars   Entertainment    Operating

Company, Inc.; Delta Airlines, Inc.; Lehman Brothers Holdings, Inc.; Oriental Trading

Company, Inc.; NII Holdings, Inc.; and Quicksilver Resources, Inc.

    18.                 For these reasons, the Debtors believe that BAC has superior qualifications to

provide them with the requested services and BAC’s appointment as special litigation counsel

for the special purposes specified herein is in the best interests of the Debtors’ estates.




          6
              See id.
          7
              See id.
          See id.
          9
              Meadows Decl. ¶ 7.



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                            V.      SERVICES TO BE PROVIDED

    19.        Subject to this Court’s approval, the terms and conditions of BAC’s retention,

employment, and compensation are set forth in the Collins Declaration. Specifically, BAC will

continue to provide legal services directly to the Debtors with respect to the Specific Matters.

Should the scope of BAC’s services expand beyond the scope discussed herein, BAC will file a

supplemental retention application with the Court.

                         VI.       PROFESSIONAL COMPENSATION

    20.        BAC intends to apply for compensation for professional services rendered on an

hourly basis and reimbursement of expenses incurred in connection with the services rendered,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Federal Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable

procedures and orders of this Court. The hourly rates and corresponding rate structure BAC will

use is equivalent to the hourly rates and corresponding rate structure that BAC predominantly

uses for matters involving complex litigation. These rates and the rate structure reflect that

certain complex matters typically are national in scope and involve great technical, factual, and

legal complexity, high stakes, and severe time pressures.

    21.        BAC operates in dynamic, international marketplace for legal services in which

rates are driven by multiple factors relating to (a) the individual lawyer and his or her area of

specialization, (b) the firm’s expertise, performance, and reputation, (c) the nature of the work

involved, and (d) other factors.

    22.        BAC’s hourly rates are set at a level designed to compensate BAC for the work of

its attorneys, other professionals, and paraprofessionals and to cover fixed and routine overhead

expenses. Hourly rates vary with the experience and seniority of the professionals assigned.



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These hourly rates are subject to periodic adjustments to reflect economic and other conditions

and are consistent with the rates charged elsewhere.               BAC’s hourly rates are set forth in

Schedule 3 to the Collins Declaration.

     23.          It is BAC’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for the representation of that particular client. It is also BAC’s policy to charge

its clients only the amount actually incurred by BAC in connection with such items. Examples

of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging. BAC will

comply will with all applicable rules and guidelines on reimbursable expenses.

     24.          In accordance with the UST Guidelines, BAC answers the following questions:

Question No. 1:

       Did you agree to any variations, or alternatives to, your standard or customary billing
arrangements for this engagement?

           Response:

           Yes. For one of the matters, BAC agreed not to seek fees for its professionals’ time in

excess of $100,000.10        In addition, BAC represents the NRA in another matter pro bono.

Otherwise, BAC has not agreed to any variations or alternatives to BAC’s standard or customary

billing arrangements.       BAC’s engagement by the Debtors in connection with the Debtors’

bankruptcy cases is to serve as special counsel to the Debtors in the litigation that began Pre-

Petition and other related matters BAC has been handling for the Debtors, as well as to assist

Neligan LLP (lead counsel to the Debtors) during a transition period after the filing of the

         10
                   The retention agreement in that case states: “NRA will be responsible for payment of all
professional staff fees, which shall be capped at $100,000.” Paraprofessionals’ fees are not subject to the cap.



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chapter 11 cases in order to facilitate the quick, efficient handling of matters drawing on BAC’s

institutional knowledge.

Question No. 2:

       Do any of the professionals included in this engagement vary their rates based on the
geographic location of the bankruptcy case?

Response:

        None of the professionals from BAC involved in this engagement varies his or her rates

based on the geographic location of the bankruptcy case or litigation matter.

Question No. 3:

       If you represented the client in the 12 months Pre-Petition, disclose your billing rates and
material financial terms for the Pre-Petition engagement, including any adjustments during the
12 months Pre-Petition. If your billing rates and material financial terms have changed
postpetition, explain the difference and the reasons for the difference.

Response:

        In 2020 and in 2021, BAC’s standard hourly rates were as follows:

Professionals                                                                   2020 Hourly Rates
Founding Partner, William A. Brewer III                                         $1,400
Partner                                                                         $700-$900
Associate                                                                       $275-$600
Consultant/Analyst                                                              $250-$725
Investigator                                                                    $250-$350
Public Affairs                                                                  $375-$800

        BAC’s rates have not changed post-petition. 11



        11
                  BAC periodically adjusts its firmwide billing rates to reflect economic changes in the market in
which it operates. While no such adjustment will be applied specifically to the Debtors alone, BAC anticipates that
any such firmwide adjustment will also apply to the Debtors and will be reflected in the fee applications submitted
to the Court.



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 Question No. 4:

        Has your client approved your prospective budget and staffing plan, and, if so, for what
 budget period?

 Response:

           Yes, the client (through the Special Litigation Committee and John C. Frazer, Secretary

 and General Counsel of the NRA) has approved a staffing and budgeting plan covering the first

 90-day period after the filing of the Chapter 11 Cases, and BAC will continue working with the

 client to obtain approval of subsequent 90-day budgets going forward.

                                   VII.    RELIEF REQUESTED

     25.          By this Application, the Debtors respectfully request approval to employ and

 retain BAC as special counsel to the Debtors with respect to the matters identified above and

 consistent with the terms of the matters described in the Collins Declaration, in connection with

 these Chapter 11 Cases.

                                     VIII. BASIS FOR RELIEF

     26.          Section 327(e) of the Bankruptcy Code provides that a debtor, subject to Court

 approval:

                  [M]ay employ, for a specified special purpose . . . an attorney that
                  has represented the debtor, if in the best interest of the estate, and
                  if such attorney does not represent or hold any interest adverse to
                  the debtor or to the estate with respect to the matter on which such
                  attorney is to be employed.

 11 U.S.C. § 327(e).

     27.          Furthermore, pursuant to section 328(a) of the Bankruptcy Code, a debtor,

 “with the court’s approval, may employ or authorize the employment of a professional person

 under section 327 . . . on any reasonable terms and conditions of employment, including on a



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 retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.”

 11 U.S.C. § 328(a).       Section 328(a) of the Bankruptcy Code permits compensation of

 professionals on flexible terms that reflect the nature, extent, and value of their services and

 market conditions. Further, section 1107(b) of the Bankruptcy Code provides that “a [firm] is

 not disqualified for employment under section 327 of this title by a debtor in possession solely

 because of such [firm’s] employment by or representation of the debtor before the

 commencement of the case.” 11 U.S.C. § 1107(b).

     28.          Moreover, Bankruptcy Rule 2014(a) requires that an application for retention

 include:

                  [S]pecific facts showing the necessity for the employment, the
                  name of the [firm] to be employed, the reasons for the selection,
                  the professional services to be rendered, any proposed arrangement
                  for compensation, and, to the best of the applicant’s knowledge, all
                  of the [firm’s] connections with the debtor, creditors, any other
                  party in interest, their respective attorneys and accountants, the
                  United States trustee, or any person employed in the office of the
                  United States trustee.

 Fed. R. Bankr. P. 2014(a).

           In considering whether to appoint counsel under section 327(e) of the Bankruptcy Code,

 courts generally consider whether “(1) the representation is in the best interest of the estate,

 (2) the attorney represented the debtor in the past, (3) the attorney is for a specific purpose

 approved by the court, other than to represent the debtor in conducting the case, [and] (4) the

 attorney does not represent or hold an interest adverse to the debtor or the debtor’s estate.” In re

 Johnson, 43 B.R. 626, 635 (Bankr. S.D. Tex. 2010). The Debtors submit that for all the reasons

 stated above and in the Collins Declaration, the employment of BAC by the Debtors is in the best

 interests of the Debtors’ estates and satisfies all standards for retention under section 327(e) and

 Rule 2014(a).


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                                       IX.   NO ADVERSE INTEREST

     29.              Under 11 U.S.C. 327(e), “[t]he trustee, with the court’s approval, may employ, for

 a specified special purpose, other than to represent the trustee in conducting the case, an attorney

 that has represented the debtor, if in the best interest of the estate, and if such attorney does not

 represent or hold any interest adverse to the debtor or to the estate with respect to the matter on

 which such attorney is to be employed.” Here, BAC does not represent or hold any interest

 adverse to the debtors or to their estates with respect to the matters on which BAC is proposed to

 be employed.12

     30.              BAC will periodically review its files during the pendency of these chapter 11

 Cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

 relevant facts or relationships are discovered or arise, BAC will use reasonable efforts to identify

 such further developments and promptly file a supplemental declaration, as required by

 Bankruptcy Rule 2014(a).

           WHEREFORE the Debtors request that the Court enter an order, substantially in the form

 attached hereto, granting the relief requested in this Application and granting such other and

 further relief as is appropriate under the circumstances.

 January 29, 2021                            Respectfully submitted,

                                             /s/ Patrick J. Neligan, Jr
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                                             Douglas J. Buncher
                                             State Bar No. 03342700
                                             John D. Gaither
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                                             NELIGAN, LLP
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           12
                Collins Declaration.



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                                  PROPOSED SPECIAL
                                  COUNSEL FOR
                                  THE DEBTORS AND
                                  DEBTORS IN POSSESSION




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